
Emanuel Kataev, Appellant,
againstRoyal Luxury Limo, LLC, Respondent.




Gajjar Law Firm, P.C. (Ripal J. Gajjar of counsel), for appellant.
Royal Luxury Limo, LLC, respondent pro se (no brief filed).

Appeal, on the ground of inadequacy, from a judgment of the District Court of Nassau County, Fourth District (Joseph B. Girardi, J.), entered January 4, 2017. The judgment, insofar as appealed from, after an inquest, awarded plaintiff the principal sum of $51.




ORDERED that the judgment, insofar as appealed from, is affirmed, without costs.
Plaintiff commenced this small claims action to recover the sum of $101, alleging that he was entitled to a refund of that sum for time not used under a limousine rental contract that he had entered into with defendant. A default judgment, entered following an inquest, awarded plaintiff the principal sum of $51. As limited by his brief, plaintiff appeals, on the ground of inadequacy, from so much of the judgment as awarded him only $51.
In a small claims action, our review is limited to a determination of whether "substantial justice has . . . been done between the parties according to the rules and principles of substantive law" (UDCA 1807; see UDCA 1804; Ross v Friedman, 269 AD2d 584 [2000]; Williams v Roper, 269 AD2d 125, 126 [2000]).
As plaintiff failed to submit the limousine contract at issue, he failed to establish that he had a right thereunder to a refund. Consequently, substantial justice (see UDCA 1804; 1807) does not require that the award to plaintiff be increased. We note that plaintiff did not establish the elements of a cause of action to recover under a deceptive trade practices claim (see General Business Law § 349).
While we find no support for the award to plaintiff in the sum of $51, in light of the fact that defendant did not cross-appeal, we affirm the judgment insofar as appealed from.
BRANDS, J.P., MARANO and RUDERMAN, JJ., concur.

ENTER:Paul KennyChief ClerkDecision Date: May 24, 2018










